EXHIBIT B
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                                                  KING COUNTY
 3                                           SUPERIOR COURT CLERK
                                                     E-FILED
 4                                           CASE #: 24-2-06473-7 SEA

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 6

 7                     SUPERIOR COURT OF WASHINGTON FOR KING COUNTY
 8   FIRST FED BANK, a Washington state                     )
     commercial bank,                                       ) No.
 9                                                          )
                                             Plaintiff,     ) COMPLAINT FOR MONIES DUE
10                                                          )
              v.                                            )
11                                                          )
     DEREN FLESHER,                                         )
12                                                          )
                                           Defendant.       )
13                                                          )
14            COMES NOW First Fed Bank, a Washington state commercial bank (“First Fed”), the
15   Plaintiff in the above-captioned action, and for its claims for relief against Defendant Deren
16   Flesher (“Guarantor”), alleges as follows:
17                           I.      PARTIES, JURISDICTION AND VENUE
18            1.1       First Fed is a Washington state commercial bank with its headquarters in Port
19   Angeles, Washington. First Fed is duly qualified to bring this action, having met all legal
20   prerequisites.
21            1.2       On information and belief, Guarantor is and was at all times material hereto a
22   resident of Edmond, Oklahoma.
23            1.3       Venue and jurisdiction are proper in that the parties contractually agreed to the
24   jurisdiction and venue of the Superior Court of the State of Washington for King County.
25                                   II.     FACTUAL BACKGROUND
26            2.1       First Fed realleges and incorporates by reference paragraphs 1.1 through 1.3 of
27   its Complaint as though fully set forth herein.
                                                                                    LANE POWELL PC
     COMPLAINT FOR MONIES DUE - 1                                            1420 FIFTH AVENUE, SUITE 4200
                                                                                      P.O. BOX 91302
                                                                                SEATTLE, WA 98111-9402
                                                                              206.223.7000 FAX: 206.223.7107
     134777.0022/9695500.3
 1            2.2       First Fed extended a commercial loan (“Loan”) to Royal Reservoirs LLC, an
 2   Oklahoma limited liability company (“Borrower”), governed by the terms and conditions of
 3   that certain Business Loan and Security Agreement dated as of February 8, 2022 (the “Loan
 4   Agreement”), by and between First Fed and Borrower. A true and correct copy of the Loan
 5   Agreement is attached hereto as Exhibit A and incorporated herein by reference.
 6            2.3       The Loan is evidenced, in part, by that certain Promissory Note dated as of
 7   February 8, 2022, executed by Borrower and payable to the order of First Fed, in the stated
 8   principal amount of Three Hundred Twenty-Five Thousand One Hundred Twenty-Five Dollars
 9   ($325,125.00) (the “Note”), plus interest as set forth therein. A true and correct copy of the
10   Note is attached hereto as Exhibit B and incorporated herein by reference.
11            2.4       Under the terms of the Note, Borrower promised and agreed to timely make
12   regular monthly payments of principal and interest on the Note on the fifth day of each month,
13   commencing April 5, 2022.
14            2.5       In the event of default, the Note provides for a late charge equal to five percent
15   (5%) of the delinquent payment amount, and default interest at a rate equal to eighteen percent
16   (18%) per annum.
17            2.6       The Loan Agreement, Note, Guaranty (as defined below), and all other
18   documents, instruments, amendments, modifications, and agreements relating to, and expressly
19   referencing the Loan shall collectively be referred to herein as the “Loan Documents.”
20            2.7       Guarantor personally, absolutely, and unconditionally guaranteed Borrower’s
21   obligations to First Fed under the Loan Documents pursuant to that certain Unconditional
22   Guaranty of Payment and Performance dated as of February 8, 2022 (the “Guaranty”). A true
23   and correct copy of the Guaranty is attached hereto as Exhibit C and incorporated herein by
24   reference.
25            2.8       The Loan Documents entitle First Fed to recover its attorneys’ fees, costs, and
26   expenses incurred in enforcing the obligations thereunder.
27
                                                                                     LANE POWELL PC
     COMPLAINT FOR MONIES DUE - 2                                             1420 FIFTH AVENUE, SUITE 4200
                                                                                       P.O. BOX 91302
                                                                                 SEATTLE, WA 98111-9402
                                                                               206.223.7000 FAX: 206.223.7107
     134777.0022/9695500.3
 1                              III.   DEFAULTS AND ACCELERATION
 2            3.1       First Fed realleges and incorporates by reference paragraphs 1.1 through 2.8 of
 3   its Complaint as though fully set forth herein.
 4            3.2       Borrower defaulted on its obligations under the Loan Documents in that it failed
 5   to make the requisite payments when due, despite demand. Specifically, Borrower failed to
 6   make the monthly payment due and owing under the Note on November 5, 2023, and all
 7   subsequent monthly payments due thereafter.
 8            3.3       Guarantor defaulted on his Guaranty insofar as he failed to satisfy the amounts
 9   due and owing under the Loan Documents.
10            3.4       As a result of the aforementioned defaults, First Fed has, and hereby elects to
11   accelerate the Loan obligation, and all amounts owing under the Loan Documents are
12   immediately due and payable.
13            3.5       All amounts owing under the Loan Documents bear interest at the contractual
14   default rate of eighteen percent (18%) per annum from March 25, 2024, until paid in full.
15                                     IV. CLAIM FOR MONIES DUE
16            4.1       First Fed realleges and incorporates by reference paragraphs 1.1 through 3.5 of
17   its Complaint as though fully set forth herein.
18            4.2       Guarantor is indebted to First Fed under the Loan Documents for the unpaid
19   principal balance of $282,994.53, plus accrued and unpaid interest through March 21, 2024, in
20   the amount of $29,897.53, and late charges of $900.35 (collectively, the “Accelerated
21   Obligation”), together with attorneys’ fees, costs and expenses, and additional prejudgment
22   interest at the contractual default rate of eighteen percent (18%) per annum from March 22,
23   2024, until the date of judgment.
24            4.3       First Fed is entitled to post-judgment interest on the entire judgment amount at
25   the contractual default rate.
26                               V.      ATTORNEYS’ FEES AND COSTS
27            5.1       First Fed realleges and incorporates by reference paragraphs 1.1 through 4.3 of
                                                                                   LANE POWELL PC
     COMPLAINT FOR MONIES DUE - 3                                           1420 FIFTH AVENUE, SUITE 4200
                                                                                     P.O. BOX 91302
                                                                               SEATTLE, WA 98111-9402
                                                                             206.223.7000 FAX: 206.223.7107
     134777.0022/9695500.3
 1   its Complaint as though fully set forth herein.
 2            5.2       First Fed is entitled to the recovery of its attorneys’ fees, costs and expenses
 3   pursuant to the terms of the Loan Documents.
 4            WHEREFORE, First Fed prays for judgment against Guarantor as follows:
 5            1.        For judgment against Guarantor in the amount of the Accelerated Obligation,
 6   plus additional prejudgment interest at the contractual default rate of eighteen percent (18%)
 7   per annum from March 22, 2024, until the date of judgment.
 8            2.        For judgment against Guarantor for First Fed’s attorneys’ fees, costs, and
 9   expenses incurred in enforcing the Loan Documents.
10            3.        That the total judgment amount bears interest on the declining balance at the
11   contractual default rate of eighteen percent (18%) per annum from the date of entry of the
12   judgment until paid in full.
13            4.        For such other and further relief as the Court deems just and proper.
14
              DATED this 25th day of March, 2024.
15
                                                      LANE POWELL PC
16

17                                                    By /s/Gregory R. Fox
                                                         Gregory R. Fox, WSBA No. 30559
18                                                       Andrew G. Yates, WSBA No. 34239
                                                      Attorneys for Plaintiff First Fed Bank
19

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21

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23

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27
                                                                                    LANE POWELL PC
     COMPLAINT FOR MONIES DUE - 4                                            1420 FIFTH AVENUE, SUITE 4200
                                                                                      P.O. BOX 91302
                                                                                SEATTLE, WA 98111-9402
                                                                              206.223.7000 FAX: 206.223.7107
     134777.0022/9695500.3
EXHIBIT A
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            PROMISSORY NOTE
                                                                                      LOAN NO:            1435

            Date:                  February 8, 2022
            Borrower:              Royal Reservoirs LLC
                                   6516 Hackberry Trail
                                   Edmond, OK 73034
                                   Attn: Deren Flesher
            Lender:                FIRST FED BANK
                                   PO Box 351
                                   Port Angeles, WA 98362
            Loan Amount:           $325,125.00
            Interest Rate:         Fixed rate of 5-Year FHLB Rate plus Credit Spread, adjusted once on the Adjustment Date, but not less than
                                   a Floor Rate of five and ninety-five hundredths (5.95%) per annum.
            Maturity Date:         February 8, 2032

                     FOR VALUE RECEIVED, Royal Reservoirs LLC, an Oklahoma limited liability company (“Borrower”), promises to pay to
           the order of FIRST FED BANK, a Washington bank corporation, or its successor or assignee (“Lender”), at the address set forth
           above or such other place as Lender may from time to time designate in writing, the sum of Three Hundred Twenty Five Thousand
           One Hundred Twenty Five AND 00/100THS U.S. DOLLARS (U.S. $325,125.00), or so much thereof as may from time to time be
           disbursed hereunder, in lawful money of the United States of America, together with interest on the unpaid principal balance from time
           to time outstanding hereunder from the date of disbursement under this Promissory Note (this “Note”) until paid at the rate set forth
           below. This Note is non-revolving.

                       1.       Loan and Loan Documents. This Note evidences a loan in the amount set forth above (the “Loan”) being made
           contemporaneously herewith from Lender to Borrower. This Note is made pursuant to and is secured by that certain Business Loan
           and Security Agreement executed contemporaneously herewith between Borrower and Lender (the “Loan Agreement”). The terms
           (including meanings given to defined terms) and conditions of the Loan Agreement are hereby adopted and incorporated herein to the
           extent not inconsistent herewith. Among other things, the Loan Agreement grants Lender a first-lien position security interest in the
           Collateral described and defined therein. The Loan Agreement, this Note, and any other written instruments evidencing, securing, or
           otherwise governing the Loan are referred to collectively as the “Loan Documents”. Borrower hereby agrees to perform and comply
           with all of the agreements, terms, and conditions of all of the Loan Documents.

                      2.        Definitions.

                                “5-Year FHLB Rate” means the interest rate designated by the Federal Home Loan Bank of Des Moines as the
           regular advance rate for fixed-rate advances of five (5) years as posted on the internet at FHLBDM.com under “Advances” and available
           to Lender as of the last Business Day immediately preceding the relevant Adjustment Date.

                                “Adjustment Date” means the date that is five (5) years after the date of this Note.

                              “Business Day” means any day on which the applicable Index is published other than Saturday, Sunday, or a
           day on which national banks are authorized or required by law to be closed in the city where Lender’s office, as identified above, is
           located.

                                “Credit Spread” means three and one-half percent (3.50%).

                                “Floor Rate” means a per annum fixed rate equal to five and ninety-five hundredths (5.95%).




           Promissory Note - Water Station Form                                                                                          Page 1
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                      3.        Interest Rate. Subject to Section 7 below (regarding the Default Rate), the outstanding principal balance of this
           Note shall bear interest at a per annum fixed rate equal to the 5-Year FHLB Rate as of the date of this Note plus the Credit Spread.
           Beginning on the Adjustment Date, and continuing through the Maturity Date, the outstanding principal balance of this Note shall bear
           interest at a per annum rate equal to the 5-Year FHLB Rate plus the Credit Spread. Notwithstanding the foregoing, in no event shall
           the interest rate applicable to the Loan be less than the Floor Rate.

                     4.        Monthly Payments of Principal and Interest. Beginning on March 5, 2022 and continuing the same day of each
           month thereafter until the Maturity Date, Borrower shall make monthly payments of principal and interest, in equal monthly installments
           calculated by Lender based on a ten year amortization period (the “Amortization Period”) and such methodology as Lender may
           deem appropriate, in its sole discretion, with such monthly payments to be recalculated and adjusted on the first of each month following
           an Adjustment Date at the then applicable interest rate to re-amortize such payment over the remaining portion of the Amortization
           Period.

                     5.        Maturity Date. The entire principal balance, all accrued interest, and any other advances made or expenses
           incurred by Lender that are payable or reimbursable by Borrower hereunder, or under any of the other Loan Documents, shall become
           immediately due and payable on February 8, 2032 (the “Maturity Date”).

                     6.         Payments - General.

                                6.1.       Application of Payments. Unless otherwise required by Lender, payments will be applied first to any
           accrued unpaid interest; then to principal; then to any late charges; and then to any unpaid collection costs. Borrower agrees,
           however, that upon the occurrence of an Event of Default and until such has been cured, Lender shall have the right, in its sole
           discretion, to modify the order in which payments are applied, and to apply payments to indebtedness owing under the Loan in a
           different order than that indicated above.
                              6.2      Payments from Deposit Account. All monthly payments must be made through the Borrower’s Deposit
           Account. Lender is hereby authorized to pay any principal, interest, or other amount due under the Loan Documents when and as the
           same shall become due by automatically debiting funds on deposit in the Deposit Account.

                                 6.3       Computation of Interest. All interest calculated under this Note shall be computed on a 365/360 basis;
           that is, by applying the ratio of the interest rate over a year of 360 days, multiplied by the outstanding principal balance, multiplied by
           the actual number of days the principal balance is outstanding. All interest payable under this Note is computed using this method.
           Any payment not received by 5:00 p.m. Pacific Time will be treated as having been received by Lender on the next day, and interest
           shall continue to accrue until the next day.

                                6.4       Late Charge. In the event that any installment payment of principal or interest due hereunder is not be
           paid within ten (10) days of the date it is due, Borrower shall pay, in addition to the delinquent payment, a late charge of five percent
           (5.0%) or $5.00, whichever is greater, of the amount overdue in order to defray the expense incident to handling such delinquent
           payment.

                      7.       Default Rate. Following an uncured Event of Default in the payment of any installment of principal or interest
           when due hereunder, or an uncured Event of Default in the observance or performance of any other obligation hereunder or under any
           of the other Loan Documents, interest shall accrue hereunder from the date of such uncured Event of Default at an annual interest rate
           equal to eighteen percent (18%) per annum (the “Default Rate”). After the entire principal amount of the Loan shall become due and
           payable, whether by acceleration, at maturity, or otherwise, this Note shall bear interest at the Default Rate.

                     8.        Prepayment. Borrower may prepay Borrower’s obligations under this Note in full or in part at any time or from
           time to time; provided, however, that except as set forth below, the Loan may be prepaid only upon payment of the applicable
           prepayment premium provided for below.

                                8.1     Prepayment Premium. Prepayments of all or any portion of the principal balance of the Loan, including
           any involuntary prepayments as described below (excluding, however, prepayments permitted under Section 8.5 below), shall be
           subject to a prepayment premium during each of the following periods (the “Prepayment Periods”) of the term of the Loan commencing
           at closing of the Loan:




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                             Prepayment Periods                                          Prepayment Premium Calculation
                                                                                         As Percentage of Principal Prepaid

                             Through the date that immediately precedes the one-         Three Percent (3.0%)
                             year anniversary of the date of this Note:
                             From the one-year anniversary of the date of this Note      Two Percent (2.0%)
                             through the date that immediately precedes the two-
                             year anniversary of the date of this Note:
                             From the two-year anniversary of the date of this Note      One Percent (1.00%)
                             through the date that immediately precedes the three-
                             year anniversary of the date of this Note:
                             Remaining Term of the Loan:                                 None

                                 8.2        Involuntary Prepayment. Involuntary prepayment shall include, but is not limited to, prepayment in the
           event of a default or in connection with acceleration or foreclosure, or any prepayment pursuant to or in connection with any sale under
           court order or power of sale, whether in judicial or non-judicial foreclosure, bankruptcy, or other insolvency proceeding, any deed in
           lieu of foreclosure or sale, or any other method or proceeding whatsoever, excepting only prepayment through application of insurance
           or condemnation proceeds, to which no prepayment premium shall be applicable. Any prepayment premium owing to Lender shall be
           due from Borrower in connection with any satisfaction allowed under applicable law relating to any foreclosure proceeding, and shall
           be due from any other lien holder or person who tenders payment of the amount owed by Borrower under applicable law, including
           principles of equitable subrogation. Lender shall be entitled to include in its credit bid at any foreclosure any applicable prepayment
           premium. Furthermore, Lender shall not be required to accept any such prepayment, whether from Borrower or any other party paying
           the Loan, if it does not include the prepayment premium, if applicable.

                                8.3      Effect of Prepayment. Early payments will not, unless agreed to by Lender in writing, relieve Borrower
           of Borrower’s obligation to continue to make payments under the payment schedule. Rather, they will reduce the principal balance
           due and may result in Borrower’s making fewer payments. Borrower agrees not to send Lender payments marked “paid in full”, “without
           recourse”, or similar language. If Borrower sends such a payment, Lender may accept it without losing any of Lender’s rights under
           this Note, and Borrower will remain obligated to pay any further amount owed to Lender. All written communications concerning
           disputed amounts, including any check or other payment instrument that indicates that the payment constitutes “payment
           in full” of the amount owed or that is tendered with other conditions or limitations or as full satisfaction of a disputed amount
           must be mailed or delivered to: First Fed Bank, ATTN: Loan Servicing, 105 W 8th St/P.O. Box 351, Port Angeles, WA 98362-
           0055.

                          8.4     Acknowledgment of Right as Bargained-For Compensation. BORROWER ACKNOWLEDGES
           LENDER’S RIGHT TO RECEIVE A PREPAYMENT PREMIUM IN ACCORDANCE WITH THE TERMS HEREOF AND HEREBY
           WAIVES ANY RIGHT OR PRIVILEGE TO PREPAY ALL OR ANY PORTION OF THIS NOTE EXCEPT AS SPECIFICALLY PROVIDED
           HEREIN. BORROWER FURTHER ACKNOWLEDGES THAT THE PREPAYMENT PREMIUM, AS DUE UNDER THE
           CIRCUMSTANCES AND AS CALCULATED IN THE MANNER DESCRIBED ABOVE, REPRESENTS THE REASONABLE ESTIMATE
           OF LENDER AND BORROWER OF A FAIR AVERAGE COMPENSATION FOR THE LOSS THAT LENDER MAY SUSTAIN DUE TO
           THE PAYMENT OF ANY OF THE INDEBTEDNESS EVIDENCED BY THIS NOTE PRIOR TO ITS DUE DATE, DUE TO, AMONG
           OTHER REASONS, THE COSTS AND OVERHEAD OF LENDER IN INVESTIGATING AND PLACING THIS LOAN AND IN
           INVESTIGATING A SUBSTITUTE INVESTMENT OF FUNDS. SUCH PREPAYMENT PREMIUM SHALL BE PAID WITHOUT
           PREJUDICE TO THE RIGHT OF LENDER TO COLLECT ANY OTHER AMOUNTS REQUIRED TO BE PAID HEREUNDER OR
           UNDER ANY OTHER DOCUMENTS EVIDENCING OR SECURING THE LOAN.                    BORROWER CONFIRMS THE
           ACKNOWLEDGMENTS EXPRESSED HEREIN AND DECLARES THAT LENDER’S AGREEMENT TO MAKE THE LOAN IN
           ACCORDANCE WITH THE LOAN DOCUMENTS CONSTITUTES ADEQUATE CONSIDERATION, GIVEN INDIVIDUAL WEIGHT BY
           BORROWER, FOR THIS WAIVER AND AGREEMENT.

                                 8.5      Permitted Prepayment. Notwithstanding the foregoing, Borrower may prepay up to twenty percent
           (20.0%) of the principal balance of the Loan during each of the Prepayment Periods set forth in Section 8.1 without penalty or premium
           (including the prepayment premium required under Section 8.1). If and to the extent any prepayments exceed twenty percent (20.0%)
           of the principal balance of the Loan during any Prepayment Period, Borrower shall pay the corresponding prepayment premium set
           forth in Section 8.1 together with such prepayment(s).


           Promissory Note - Water Station Form                                                                                            Page 3
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                     9.         Business Purpose; Maximum Interest and Fees. Borrower agrees to the applicable interest rate, plus any other
           charges to Borrower or benefit received by Lender under the Loan Documents that may be interpreted to be in the nature of interest.
           Borrower represents and warrants to Lender that the proceeds of this Note shall be used exclusively for commercial, business, or
           investment purposes, and that none of the proceeds of this Note shall be used by Borrower for personal, family, or household purposes.
           Notwithstanding any other provision of the Loan Documents, the interest, fees and charges under the Loan Documents shall not
           exceed the maximum amounts permitted by any applicable law, and should Lender ever receive as interest an amount that would
           exceed permissible rates, such amount shall be applied to the reduction of the unpaid principal balance and not to the payment of
           interest. This provision shall supersede every other provision of all the Loan Documents.

                      10.       Acceleration. Upon the occurrence of an Event of Default resulting from Borrower’s failure to pay any amount
           payable hereunder as and when due or upon the occurrence of any other Event of Default under this Note or under any of the other
           Loan Documents, Lender may declare, at its sole option and without notice to any party, the entire indebtedness evidenced hereby
           immediately due and payable in full. Failure to exercise this option or any other right Lender may have shall not constitute a waiver of
           the right to exercise such option or any other right in the event of any subsequent Event of Default.

                       11.     Costs and Fees of Collection; Interest on Judgments. Borrower and every other person or entity at any time
           liable for the payment of the indebtedness evidenced hereby shall also be liable for all costs, expenses, and fees incurred by Lender
           in collecting any amounts owing hereunder, including, but not limited to, reasonable attorneys’ fees. Any judgment recovered by
           Lender shall bear interest at the Default Rate.

                      12.      Waiver of Presentment. Borrower and every other person or entity at any time liable for the payment of the
           indebtedness evidenced hereby each waive diligence, demand, presentment for payment, notice of protest, and notice of nonpayment
           of this Note. Every such person or entity further consents to any extension of the time of payment hereof or other modification of the
           terms of payment of this Note, the release of all or any part of the security for this Note, or the release of any party liable for the payment
           of the indebtedness evidenced hereby at any time and from time to time for any reason whatsoever. Any such extension or release
           may be made without notice to any of such persons or entities and without discharging their liability.

                     13.      Time is of the Essence. Time is of the essence of this Note and the performance of each of the agreements and
           provisions contained herein.

                    14.         Joint and Several Liability. The liability hereunder of multiple parties identified herein as Borrower shall be joint
           and several.

                     15.       Applicable Law. This Note shall be construed in accordance with the laws of the State of Washington, without
           regard to that state’s choice of law rules. Borrower hereby consents to the jurisdiction of the courts of King County, the State of
           Washington.

                      16.        Successors and Assigns. Borrower may not assign any of its rights or obligations under this Note without the
           prior written consent of Lender. Subject to the preceding sentence, this Note shall be binding upon the respective heirs, legal
           representatives, successors, and assigns of Borrower and shall inure to the benefit of Lender and its successors and assigns, including,
           without limitation, each successive holder of this Note and any other lenders now or hereafter participating in the Loan.

                  17.    Recourse. BORROWER ACKNOWLEDGES LIABILITY FOR PAYMENT OF ALL AMOUNTS OWING UNDER
           THIS NOTE AND THE OTHER LOAN DOCUMENTS AND AGREES THAT LENDER DOES NOT HAVE TO FORECLOSE ITS
           SECURITY INTEREST GRANTED BY THE LOAN AGREEMENT OR ANY OTHER COLLATERAL BEFORE DEMANDING FULL
           PAYMENT FROM BORROWER.

                       18.        Waiver of Trial by Jury. Borrower hereby waives, to the fullest extent permitted by applicable law, the right to a
           trial by jury in any action or proceeding based upon, or related to, the subject matter of this Note. This waiver is knowingly, intentionally,
           and voluntarily made by Borrower, and Borrower acknowledges that no person acting on behalf of Lender has made any
           representations of fact to induce this waiver of trial by jury or in any way to modify or nullify its effect. Borrower further acknowledges
           that Borrower has been represented (or has had the opportunity to be represented) in the signing of this Note and in the making of this
           waiver by independent legal counsel, selected of Borrower’s own free will, and that Borrower has had the opportunity to discuss this
           waiver with counsel.

                                  [Remainder of Page Intentionally Left Blank; Signature Appears on Following Page]



           Promissory Note - Water Station Form                                                                                                   Page 4
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           19.       No Oral Agreements.

                     ORAL AGREEMENTS OR ORAL COMMITMENTS TO LOAN MONEY, EXTEND CREDIT, OR TO FORBEAR
                     FROM ENFORCING REPAYMENT OF A DEBT ARE NOT ENFORCEABLE UNDER WASHINGTON LAW.

                     DATED as of the date set forth above.

            BORROWER:                                              Royal Reservoirs LLC,
                                                                   an Oklahoma limited liability company



                                                                   By: _________________________________
                                                                       Name: Deren Flesher
                                                                       Its: Managing Member




           Promissory Note - Water Station Form                                                            Page 5
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                                           UNCONDITIONAL GUARANTY OF PAYMENT AND PERFORMANCE

                    This UNCONDITIONAL GUARANTY OF PAYMENT AND PERFORMANCE (this “Guaranty”), is made as of February 8,
           2022 by Deren Flesher (“Guarantor”), for the benefit of FIRST FED BANK, a Washington bank corporation (together with its
           successors, participants and assigns, “Lender”).

                                                                          RECITALS

                   A.       Guarantor has requested that Lender make a term loan to Royal Reservoirs LLC, an Oklahoma limited liability
           company, (“Borrower”) in the principal amount of Three Hundred Twenty Five Thousand One Hundred Twenty Five AND 00/100THS
           U.S. DOLLARS (U.S. $325,125.00) (the “Loan”).

                    B.          The Loan is evidenced by a Promissory Note of even date herewith (the “Note”), governed by a Business Loan
           and Security Agreement between Borrower and Lender of even date herewith (the “Loan Agreement”) which, among other things,
           grants Lender a first-lien security interest in the collateral described and defined therein (as defined below, the “Collateral”).

                      C.       Lender’s agreement to make the Loan is conditioned on Guarantor’s execution of this Guaranty, and Lender would
           not make the Loan to Borrower without the agreements of Guarantor set forth herein. Guarantor will receive direct and tangible financial
           benefits from the Loan.

                     D.        Capitalized terms used but not defined herein shall have the meanings given to such terms in the Loan Agreement.

                                                                        AGREEMENTS

                     NOW, THEREFORE, intending to be legally bound, and for good and valuable consideration, the receipt and sufficiency of
           which is hereby acknowledged, and to induce Lender to enter into the Loan, Guarantor hereby agrees as follows:

                    1.         Unconditional Guaranty of Payment and Performance. Guarantor unconditionally, absolutely, and irrevocably
           guarantees the following “Guaranteed Obligations”:

                              1.1       the due and punctual payment of all amounts (collectively herein, the “Indebtedness”) payable by
           Borrower under the Loan Agreement, the Note, and other agreements and instruments that evidence, secure, or otherwise govern the
           Loan, but excluding the Indemnity Agreement (collectively, the “Loan Documents”); and

                               1.2        the prompt payment of all obligations of Borrower to Lender arising from any interest rate hedging
           program, including, without limitation, any interest rate swap, cap, or such other interest rate protection product, whether now existing
           or entered into hereafter (each an “Interest Rate Protection Product”), including, without limitation, any Cash Settlement Amount or
           any payments on Early Termination payable by Borrower under any Swap Transaction or Confirmation; provided, however, the term
           “Interest Rate Protection Product” shall not include any interest rate swap, cap, or other interest rate protection product if, at the time
           Borrower enters into any such product, it is unlawful for Guarantor to guarantee the obligations of Borrower thereunder. Capitalized
           terms used in this subsection 1.2 but not otherwise defined in this Guaranty or in the Loan Agreement are defined in the 2006 ISDA
           Definitions published by the International Swap and Derivatives Association, Inc.; and

                             1.3      the full, complete and punctual observance, performance and satisfaction of all the obligations, duties,
           covenants and agreements of Borrower under the Loan Agreement and the other Loan Documents.

                     2.         Guarantor's Obligations are Absolute. This is an absolute, present, and continuing guaranty of payment and
           performance and not of collection. This Guaranty may be enforced by Lender without the necessity at any time of resorting to or
           exhausting any Collateral (defined below) through foreclosure or sale proceedings, as the case may be, under the Loan Agreement or
           otherwise, or resorting to any other guaranties, and Guarantor hereby waives any right to require Lender to join Borrower or any other
           Guarantor in any action brought hereunder or to commence any action against or obtain any judgment against Borrower or to pursue
           any other remedy or enforce any other right. Guarantor further agrees that nothing contained herein or otherwise shall prevent Lender

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           from pursuing concurrently or successively all rights and remedies available to Lender at law or in equity or under any of the Loan
           Documents. Lender’s exercise of any of its rights or remedies shall not constitute a discharge of Guarantor’s obligations hereunder, it
           being the purpose and intent of Guarantor that the obligations of Guarantor hereunder shall be absolute, independent, and
           unconditional under all circumstances whatsoever. None of Guarantor’s obligations under this Guaranty nor any of Lender’s rights or
           remedies shall be impaired, modified, changed, or released in any manner whatsoever by any impairment, modification, change,
           release, or limitation of Borrower’s liability under any of the Loan Documents or by reason of the insolvency, bankruptcy, dissolution,
           liquidation, or reorganization of Borrower or any Guarantor.

                     3.         Rights of Lender.


                               3.1       Guarantor agrees that Lender may deal exclusively with Borrower in all matters relating to the Loan
           without notice of any kind to or the approval of Guarantor. Specifically, Lender is not required to (a) notify Guarantor of Lender’s
           acceptance of this Guaranty; (b) notify Guarantor when Lender advances Loan proceeds, extends credit to Borrower, or pays any
           obligations of Borrower; (c) notify Guarantor of any default under the Loan Documents; or (d) make presentment and demand for
           payment, protest, or notice of demand, protest, dishonor, and nonpayment. It is intended that Guarantor shall remain fully liable
           regardless of any act or omission by Lender that might otherwise directly or indirectly result, by operation of law or otherwise, in the
           discharge or release in whole or in part of Borrower, any other guarantor, or any other person, or the discharge, release, or impairment
           of any collateral now or hereafter held as security for any of the obligations under the Loan Documents (collectively herein, the
           “Collateral”).

                               3.2        Lender shall have the right to set off the unpaid balance of the Guaranteed Obligations against any
           indebtedness owing to Guarantor by Lender or by any Lender Affiliate, including, without limitation, any obligation under a repurchase
           agreement or any funds held at any time by Lender or any Lender Affiliate, whether collected or in the process of collection, or in any
           time or demand deposit account maintained by Guarantor at, or evidenced by any certificate of deposit issued by, Lender or any Lender
           Affiliate. Guarantor agrees, to the fullest extent it may effectively do so under applicable law, that any holder of a participation in the
           Note may exercise rights of set-off or counterclaim and other rights with respect to such participation as fully as if such holder of a
           participation were a direct creditor of Guarantor pursuant to this Agreement in the amount of such participation.

                      4.         Modifications and Actions by Lender. Without limiting the generality of the foregoing, Guarantor agrees that
           Lender may do, or fail to do, any of the following one or more times, without notice to or the approval of Guarantor, without diminishing,
           altering, or otherwise affecting the liability of Guarantor hereunder, and even though Borrower’s financial condition may have
           deteriorated or Guarantor may object: (a) Lender may renew, extend, or otherwise change the time for payment of the obligations of
           Borrower to Lender; (b) Lender may increase the amount of the Loan; (c) Lender may modify any other terms of the Loan; (d) Lender
           may release, surrender, substitute, or exchange any of the Collateral, or take and hold additional or other security for the payment of
           this Guaranty or any other indebtedness guaranteed, and exchange, enforce, waive, or release any such security; (e) Lender may
           release Borrower, any Guarantor, or any other guarantor from obligations under the Loan or any guaranty thereof; (f) Lender is not
           required to marshal assets and Lender may take a deed in lieu of foreclosure or foreclose or realize upon such security and direct the
           amount or manner of sale thereof as Lender in its discretion may determine; (g) Lender may apply the Collateral to the repayment of
           any amounts owing to Lender under the Loan Documents in any order Lender may determine in its discretion; (h) Lender may forbear
           from pursuing Borrower, any Guarantor, or any other guarantor or any other person, or forbear from foreclosing or otherwise realizing
           upon any of the Collateral; (i) Lender may impair or fail to perfect a security interest in any of the Collateral; (j) Lender may take actions
           that have the effect of diminishing Guarantor’s subrogation rights; and (k) Lender may take any other actions with respect to the terms
           of or security for the Guaranteed Obligations. Notwithstanding any such action by Lender, Guarantor’s obligations hereunder shall
           remain in full force and effect.

                     5.         Guarantor Waivers.

                                5.1         Waiver of Suretyship Defenses. Guarantor hereby waives any defenses based on the action or
           inaction of Lender that might otherwise be deemed a legal or equitable discharge of a surety, including, without limitation, any defense
           based on any of the following: (a) the lack of diligence or any delay in enforcing, or any waiver of or failure to enforce, any right or
           remedy under the Loan Documents; (b) the failure or invalidity of, or any defect in, the Loan Documents; (c) any disability or other
           defense of Borrower, any Guarantor, any other guarantor, or any other person; (d) the termination from any cause whatsoever of any
           of the obligations under the Loan Documents, except upon full satisfaction of the Guaranteed Obligations; (e) the loss or impairment
           of any right of subrogation; (f) any modification of any of the terms and conditions of the Loan Documents in any form whatsoever and
           without notice to Guarantor; or (g) the foreclosure of the Collateral or any portion thereof, it being intended that this Guaranty shall


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           survive the realization upon any of the Collateral, including, but not limited to, any nonjudicial foreclosure action and any deed in lieu
           of foreclosure, to the extent permitted under applicable law.

                                5.2      Waiver of Right of Reimbursement. Unless and until the Guaranteed Obligations have been fully
           satisfied, Guarantor hereby waives any right of reimbursement, contribution, recourse, or any other right or remedy of Guarantor against
           Borrower, any Guarantor, any other guarantor or any other person to recover amounts that Guarantor is obligated to pay under this
           Guaranty.

                              5.3        Waiver of Right of Subrogation. Unless and until the Guaranteed Obligations have been fully satisfied,
           Guarantor hereby waives any right of subrogation, any right to enforce any remedy Lender may have against Borrower, any Guarantor,
           any other guarantor, or any other person, and any benefit of, and the right to participate in, any of the Collateral.

                    6.         Subordination of Debt. Any debt of Borrower now or hereafter held by any Guarantor is hereby subordinated to
           the Indebtedness. Guarantor shall not seek, accept, or retain for its own account any payment from Borrower on account of any
           subordinated debt until the entire Indebtedness has been paid in full. Any payment of such subordinated indebtedness by Borrower
           to Guarantor before payment in full of the Indebtedness shall be collected, enforced and received by Guarantor as trustee for Lender
           and promptly paid to Lender in payment of the Indebtedness.

                     7.         Anti-Deficiency and One-Form-Of-Action Rules.

                                7.1       Guarantor understands that certain statutes, commonly referred to as “anti-deficiency” and “one form of
           action” rules, may prevent or inhibit a lender, after completing a non-judicial foreclosure or accepting a deed in lieu of foreclosure, from
           obtaining a deficiency judgment against a borrower or from collecting the amount of the deficiency from a guarantor, unless such
           borrower or guarantor has knowingly waived the application of such statutes and the benefits that it would otherwise receive from such
           statutes. This curtailment of a lender’s rights to recover a deficiency from a guarantor is based in part on the fact that a lender’s election
           of a non-judicial foreclosure or a deed in lieu of foreclosure from among other possible default remedies impairs or eliminates a
           guarantor’s rights of subrogation and reimbursement against the borrower, the collateral, or any other surety for the borrower’s
           obligations.

                                 7.2      Guarantor understands that, unless it waives the protection that such rules would ordinarily confer, these
           “anti-deficiency” and “one form of action” rules might provide a defense to enforcement of this Guaranty if Lender elects to proceed
           with a non-judicial foreclosure or to accept a deed in lieu of foreclosure. Nevertheless, as an inducement for Lender to make the Loan,
           Guarantor hereby knowingly waives, in advance and to the extent permitted under applicable law, all its rights to rely on the anti-
           deficiency and “one form of action rules” in connection with the impairment of its subrogation rights, as a defense to this Guaranty.
           Guarantor hereby acknowledges and agrees that Lender may, in its sole discretion, exercise any right or remedy whatsoever that it
           may have against Borrower or any security held by Lender, including, without limitation, the right to foreclose upon any collateral for
           the Loan by judicial or non-judicial sale or to take a deed in lieu of foreclosure, without affecting or impairing in any way the liability of
           Guarantor hereunder (except to the extent that the Guaranteed Obligations have been fully paid and performed), even if such election
           operates to impair or extinguish any right of reimbursement or subrogation or other right or remedy of Guarantor against Borrower or
           any security for the Loan. Guarantor further waives any statutes that provide “fair value” protection by limiting a deficiency judgment
           to the difference between the property’s fair market value (or foreclosure sale price, if greater) and the amount of the obligation being
           foreclosed.

                      8.       Costs and Reasonable Attorneys’ Fees. Guarantor shall pay all of Lender’s expenses incurred in any effort to
           enforce any terms of this Guaranty, whether or not any suit is filed, including, without limitation, reasonable attorneys’ fees and
           disbursements, foreclosure costs, and title charges. Such sums shall be immediately due and payable and shall bear interest from the
           date of disbursement at the Default Rate set forth in the Loan Documents, or the maximum rate that may be collected from Borrower
           under applicable law, if less.

                     9.       Representations and Warranties. To induce Lender to make the Loan, each Guarantor makes the
           representations and warranties to Lender set forth in this Section. Guarantor acknowledges that, but for the truth and accuracy of the
           matters covered by the following representations and warranties, Lender would not have agreed to make the Loan.

                             9.1       All representations and warranties relating to Guarantor set forth in the Loan Agreement are true and
           correct and made and affirmed by Guarantor as though set forth fully herein.


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                               9.2       All balance sheets, net worth statements, bank and brokerage statements, and other financial data with
           respect to Guarantor that have been given to Lender by or on behalf of that Guarantor fairly and accurately represent the financial
           condition of that Guarantor as of the respective dates thereof.

                                9.3           This Guaranty creates legal, valid, and binding obligations of Guarantor enforceable in accordance with
           its terms. The execution, delivery, and performance by Guarantor of this Guaranty does not and will not contravene or conflict with
           (a) any law, order, rule, regulation, writ, injunction, or decree now in effect of any government authority, or court having jurisdiction over
           Guarantor; (b) any contractual restriction binding on or affecting Guarantor or Guarantor’s property or assets that may adversely affect
           Guarantor’s ability to fulfill its obligations under this Guaranty; (c) the instruments creating any trust holding title to any assets included
           in Guarantor’s financial statements; or (d) the organizational or other documents of Guarantor.

                              9.4      Except as disclosed in writing to Lender, there is no action, proceeding, or investigation pending or, to
           the knowledge of Guarantor, threatened or affecting Guarantor, that may adversely affect Guarantor’s ability to fulfill its obligations
           under this Guaranty.

                                9.5       Guarantor is not in default under any agreements that may adversely affect Guarantor’s ability to fulfill
           its obligations under this Guaranty.

                                  9.6       Guarantor (a) has a financial interest in Borrower and the financial benefits to Guarantor from the Loan
           constitute reasonably equivalent value for the execution of this Guaranty; (b) is not insolvent and will not become insolvent as a result
           of this Guaranty; (c) is not engaged in a business or transaction, and is not about to engage in a business or transaction, for which the
           property of Guarantor constitutes unreasonably small capital and that would leave Guarantor insolvent; (d) does not intend to or believe
           that it will incur debts that would be beyond Guarantor’s ability to pay as such debts mature; (e) has reviewed and approved all of the
           terms and conditions of the Loan Documents; and (f) has established adequate means of obtaining, and will obtain from Borrower on
           a continuing basis, all financial and other information regarding Borrower, any other guarantor, and the Loan, without any obligation
           on the part of Lender to provide any such information.

           All the foregoing representations and warranties shall survive so long as any of the Guaranteed Obligations have not been satisfied.
           Guarantor hereby agrees to indemnify, defend, and hold Lender free and harmless from and against all loss, cost, liability, damage,
           and expense, including reasonable attorneys’ fees and costs that Lender may sustain by reason of the inaccuracy or breach of any of
           the foregoing representations and warranties.

                      10.       Insolvency. So long as any of the Guaranteed Obligations are unpaid and this Guaranty remains in effect,
           Guarantor agrees to file all claims against Borrower in any bankruptcy or other proceeding in which the filing of claims is required by
           law relating to indebtedness owed by Borrower to Guarantor and to assign to Lender all rights of Guarantor thereunder up to the
           amount of such unpaid Guaranteed Obligations. In all such cases the Persons authorized to pay such claims shall pay to Lender the
           full amount thereof to the full extent necessary to pay the Guaranteed Obligations and Guarantor hereby assigns to Lender all of
           Guarantor’s rights to all such payments to which Guarantor would otherwise be entitled. Notwithstanding the foregoing, and except to
           the extent that any sums owed by Borrower to Lender under the Loan Documents have been fully satisfied thereby, the liability of
           Guarantor hereunder shall in no way be affected by (a) the release or discharge of Borrower in any creditors’, receivership, bankruptcy
           or other proceedings; or (b) the impairment, limitation or modification of the liability of Borrower or the estate of Borrower in bankruptcy
           resulting from the operation of any present or future statute, regulation, or from the decision of any court.

                      11.       Preferences, Fraudulent Conveyances, Etc. If Lender is required to refund, or voluntarily refunds, any payment
           received from Borrower because such payment is or may be avoided, invalidated, declared fraudulent, set aside or determined to be
           void or voidable as a preference, fraudulent conveyance, impermissible setoff or a diversion of trust funds under applicable bankruptcy
           laws or for any similar reason, including, without limitation, any judgment, order or decree of any court or administrative body having
           jurisdiction over Lender or any of its property, or any settlement or compromise of any claim effected by Lender with Borrower or any
           other claimant (“Rescinded Payment”), then Guarantor’s liability to Lender shall continue in full force and effect, or Guarantor’s liability
           to Lender shall be reinstated, as the case may be, with the same effect and to the same extent as if the Rescinded Payment had not
           been received by Lender, notwithstanding the cancellation or termination of the Note or any of the other Loan Documents. In addition,
           Guarantor shall pay or reimburse Lender for all expenses (including all reasonable attorneys’ fees, court costs and related
           disbursements) incurred by Lender in the defense of any claim that a payment received by Lender in respect of all or any part of the
           Guaranteed Obligations must be refunded. The provisions of this Section shall survive the termination of this Guaranty and any
           satisfaction and discharge of Borrower by virtue of any payment, court order or any federal or state law.



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                     12.         Community Property. Unless Guarantor’s obligations hereunder are otherwise limited by a specific annotation
           either on the first page of this Guaranty or following Guarantor’s signature below, any married person who signs this Guaranty as a
           Guarantor warrants that it is an obligation incurred on behalf of his or her marital community and agrees that this Guaranty shall bind
           the marital community.

                      13.        Lender’s Election of Remedies. This Guaranty may be enforced against any Guarantor without attempting to
           collect from Borrower, any other Guarantor, or any other guarantor, or any other person, and without attempting to enforce Lender’s
           rights in any of the Collateral. Lender may join Guarantor in any suit relating to the Loan Documents or proceed against any Guarantor
           in a separate action. Lender shall have the right to exercise its remedies in such order as it determines in its sole discretion.

                    14.        Joint and Several Liability. The liability of each Guarantor and any other guarantors of the Loan shall be joint
           and several.

                     15.      Guarantor’s Ongoing Reporting Obligations. Each Guarantor acknowledges that it has read or adequately
           understands the content of the Loan Documents. Each Guarantor agrees to promptly, and in any event within five (5) days after
           Lender’s request, provide Lender with financial statements, certifications of liquidity, and other reports and information as required of
           Guarantor under the Loan Agreement or as requested by Lender from time to time. Guarantor shall further notify Lender in writing of
           any change of address, telephone number, fax number, marital status (if an individual), or legal organization (if an entity) within 10
           days after such event.

                      16.        Guarantor Covenants. Guarantor shall perform all covenants of Guarantor under the Loan Documents, including,
           without limitation, any financial covenants and reporting requirements applicable to Guarantor under the Loan Agreement.

                      17.       Notices. Any notice, demand, request, or other communication that any party hereto may be required or may
           desire to give hereunder shall be given in writing to the addresses set forth below and shall be deemed to have been properly given
           (a) if hand delivered, when delivered; (b) if mailed by United States Certified Mail (postage prepaid, return receipt requested), three
           Business Days after mailing; (c) if by Federal Express or other reliable overnight courier service, on the next Business Day after
           delivered to such courier service; or (d) if by confirmed e-mail transmission on the day of transmission so long as a copy is sent on the
           same day by overnight courier to the address set forth below:

                            If to Guarantor:       Deren Flesher
                                                   6516 Hackberry Trail
                                                   Edmond, OK 73034
                                                   Telephone: (405) 808-1638
                                                   E-mail: deren.flesher@gmail.com

                               If to Lender:       FIRST FED BANK
                                                   PO Box 351
                                                   Port Angeles, WA 98362
                                                   Attn: Kasi O’Leary
                                                   Email: kasi.oleary@ourfirstfed.com

           Any party may change its address for notices by notifying the others in writing of the change as set forth herein.

                      18.        Assignment. The term “Lender” shall include any subsequent holder of or participant in any of the Loan
           Documents. Lender may assign the Loan Documents in whole or in part and grant participations therein, without notice and without
           affecting Guarantor’s liability under this Guaranty. Lender may make available to any proposed assignee or participant all credit and
           financial data with respect to Guarantor as may be in the possession of Lender. Guarantor agrees to furnish any additional information
           that any proposed assignee or participant may reasonably request.

                     19.      Applicable Law. This Agreement shall be construed in accordance with and governed by the laws of the State of
           Washington, without regard to that state’s choice of law rules. The parties consent to the jurisdiction of the courts of King County, the
           State of Washington.



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                     20.       Miscellaneous. Guarantor agrees as follows: (a) this Guaranty shall be binding upon and enforceable against
           Guarantor’s heirs, legal representatives, successors, and assigns; (b) this Guaranty constitutes the entire understanding between
           Lender and Guarantor regarding the subject matter hereof, and no course of prior dealing between the parties shall be used to
           supplement or modify the terms of this Guaranty; (c) this Guaranty may be changed, modified or supplemented only through a writing
           signed by Guarantor and Lender; (d) if any provision of this Guaranty is invalid, illegal, or unenforceable, such provision shall be
           considered severed from the rest of this Guaranty and the remaining provisions shall continue in full force and effect as if the invalid
           provision had not been included; and (e) this Guaranty may be executed in any number of counterparts and by different parties hereto
           in separate counterparts, each of which when so executed shall be deemed to be an original, and all of which taken together shall
           constitute one and the same instrument.

                   21.     Waiver of Jury Trial. GUARANTOR HEREBY WAIVES, TO THE FULLEST EXTENT PERMITTED BY
           APPLICABLE LAW, THE RIGHT TO A TRIAL BY JURY IN ANY ACTION OR PROCEEDING BASED UPON, OR RELATED TO, THE
           SUBJECT MATTER OF THIS GUARANTY AND THE GUARANTEED OBLIGATIONS. THIS WAIVER IS KNOWINGLY,
           INTENTIONALLY, AND VOLUNTARILY MADE BY GUARANTOR, AND GUARANTOR ACKNOWLEDGES THAT NO PERSON
           ACTING ON BEHALF OF LENDER HAS MADE ANY REPRESENTATIONS OF FACT TO INDUCE THIS WAIVER OF TRIAL BY
           JURY OR IN ANY WAY TO MODIFY OR NULLIFY ITS EFFECT. GUARANTOR FURTHER ACKNOWLEDGES THAT GUARANTOR
           HAS BEEN REPRESENTED (OR HAS HAD THE OPPORTUNITY TO BE REPRESENTED) IN THE SIGNING OF THIS GUARANTY
           AND IN THE MAKING OF THIS WAIVER BY INDEPENDENT LEGAL COUNSEL, SELECTED OF GUARANTOR’S OWN FREE WILL,
           AND THAT GUARANTOR HAS HAD THE OPPORTUNITY TO DISCUSS THIS WAIVER WITH COUNSEL.

                     22.        Independent Obligation. Guarantor understands and agrees that (a) the obligations under this Guaranty are
           separate and independent from Borrower, any Guarantor, any other guarantor, or any other person, and represent an unconditional,
           absolute, and irrevocable obligation on the part of Guarantor to pay the full amount of the indebtedness when due; (b) Lender is not
           required to pursue Borrower, any Guarantor, any other guarantor, or any other person, or foreclose or realize on all or any portion of
           the Collateral, or pursue any other remedies before demanding full payment from Guarantor; and (c) Guarantor shall remain fully liable
           under this Guaranty even if the Collateral is impaired or discharged or Borrower, any Guarantor, any other guarantor, or any other
           person is discharged or otherwise relieved of liability under the Loan Documents.

                     23.       Notice Disclaiming Oral Agreements.

                               RCW 16.36.140 DISCLOSURE: ORAL AGREEMENTS OR ORAL COMMITMENTS TO LOAN
                               MONEY, EXTEND CREDIT, OR TO FORBEAR FROM ENFORCING REPAYMENT OF A DEBT ARE
                               NOT ENFORCEABLE UNDER WASHINGTON LAW.

                                 [Remainder of Page Intentionally Left Blank; Signatures Appear on Following Page]




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                    Dated as of the date set forth above.

                                                                 GUARANTOR:


                                                                  ________________________________________
                                                                  Name: Deren Flesher




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